          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                        CRIMINAL NO. 2:04CR93-8


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                  VS.                      )           ORDER
                                           )
                                           )
REBECCA CHRISTINE JORDAN                   )
LAYEL                                      )
                                           )


      THIS MATTER is before the Court on a pro se motion by the

Defendant (who is incarcerated in a federal prison in Tallahassee, Florida)

for the Court’s permission to correspond with her husband who is presently

incarcerated at a federal correctional facility in Inez, Kentucky.

      Regulations regarding the exchange of correspondence between

federal prisoners is within the jurisdiction of the Bureau of Prisons;

therefore, this Court has no authority to provide the relief requested.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is

DENIED.




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                                Signed: August 8, 2006




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